USCA4 Appeal: 20-1092       Doc: 61           Filed: 05/15/2020   Pg: 1 of 2


                                                                          FILED: May 15, 2020

                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT

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                                                No. 20-1092
                                         (1:18-cv-01034-LCB-LPA)
                                           ___________________

        NORTH CAROLINA STATE CONFERENCE OF THE NAACP; CHAPEL
        HILL-CARRBORO NAACP; GREENSBORO NAACP; HIGH POINT NAACP;
        MOORE COUNTY NAACP; STOKES COUNTY BRANCH OF THE NAACP;
        WINSTON SALEM-FORSYTH COUNTY NAACP

                       Plaintiffs - Appellees

        v.

        KEN RAYMOND, in his official capacity as a member of the North Carolina
        State Board of Elections; STELLA ANDERSON, in her official capacity as
        Secretary of the North Carolina State Board of Elections; DAMON CIRCOSTA,
        in his official capacity as Chair of the North Carolina State Board of Elections;
        JEFFERSON CARMON, in his official capacity as a member of the North
        Carolina State Board of Elections; DAVID C. BLACK, in his official capacity as
        a member of the North Carolina State Board of Elections

                       Defendants - Appellants

        ----------------------------------------

        PHILIP E. BERGER, in his official capacity as President Pro Tempore of the
        North Carolina Senate; TIMOTHY K. MOORE, in his official capacity as
        Speaker of the North Carolina House of Representatives

                       Amici Supporting Appellants/Intervenors




              Case 1:18-cv-01034-LCB-LPA Document 142 Filed 05/15/20 Page 1 of 2
USCA4 Appeal: 20-1092     Doc: 61       Filed: 05/15/2020      Pg: 2 of 2


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                                           ORDER
                                      ___________________

              The petition for rehearing en banc was circulated to the full court. No judge

        requested a poll under Fed. R. App. P. 35. The court denies the petition for

        rehearing en banc.

                                               For the Court

                                               /s/ Patricia S. Connor, Clerk




             Case 1:18-cv-01034-LCB-LPA Document 142 Filed 05/15/20 Page 2 of 2
